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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIiT®         28 PH 3; QQ
                            DUBLIN DIVISION

                                                        clerk.
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UNITED STATES OF AMERICA              *
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                                      *
     V.                                       OR 312-003-5
                                      *


                                      *
ANTONIO SMILEY




                               ORDER




     In the present circumstance of the COVID-19 pandemic, inmates

of federal prison facilities are understandably concerned.                Some

inmates are choosing to file motions with the Court for immediate

release or to accelerate      their   placement on     home   confinement.

Defendant Antonio    Smiley   has filed    such   a   motion.       The   only

provision by which a federal court can modify an imposed sentence

is 18 U.S.C. § 3582(c)




^ Defendant contends that the courts have been given authority to
grant home confinement in response to COVID-19 by virtue of a
Memorandum from Attorney General William Barr to the Director of
the  Bureau   of  Prisons   on  March  26,  2020.   Available at
https;//www.justice.gov/file/1262731/download (last visited Apr.
23, 2020).   This Memorandum has no binding authority on federal
courts.   Rather, it demonstrates that the BOP is working to
alleviate the effects of COVID-19 on its prisons' populations.
Indeed, the Government has detailed the proactive measures
undertaken by the BOP in its responsive brief. (Doc. No. 941, at
6-10.) Moreover, the BOP is better positioned than this Court to
assess an individual inmate's eligibility for release.
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        Section       3582(c)(1)(A),           commonly      referred         to     as     the

"compassionate release" provision, provides a narrow path for a

defendant in "extraordinary and compelling circumstances" to leave

prison early.          Prior to the First Step Act, only the Director of

the     Bureau     of     Prisons       ("BOP")    could       bring      a    motion       for

compassionate release under this statute.                     However, Section 603(b)

of the First Step Act amended § 3582(c)(1)(A) to permit a defendant

to bring a motion for compassionate release after either exhausting

administrative rights to appeal the BOP's failure to bring such a

motion     or    the    passage     of    thirty      days    from     the      defendant's

unanswered request to the warden for such relief.                              18 U.S.C. §

3582(c)(1)(A).          In this case. Defendant does not show that he has

complied with this process; his motion is therefore premature.

        Moreover, the Court is constrained to follow the applicable

policy     statements        issued       by    the     United      States         Sentencing

Commission       in    consideration      of compassionate           release.         See    18

U.S.C. § 3582(c)(1)(A).             The existing policy statement, U.S.S.G.

§     1B1.13,     provides       that    in     addition      to    the       existence      of

extraordinary         and   compelling         reasons,    the     defendant        must    not

present     a    danger     to   the     safety    of   any    other      person      or    the

community.        Application Note 1 lists three specific examples of

extraordinary and compelling reasons to consider reduction of a

defendant's sentence under § 3582(c)(1)(A): (1) medical condition;

(2) advanced age; and (3) family circumstances. Id. n.l(A)-(C).
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Defendant      has not met the specific criteria for any of these

categories.          The       application     note   also     provides     a   catch-all

category: "As determined by the Director of the Bureau of Prisons,

there     exists     in     the    defendant's        case    an     extraordinary     and

compelling      reason         other   than,    or    in     combination     with,"    the

aforementioned three categories.                     Id. n.l(D) (emphasis added).

The    Court   has    not      been    made   aware   that     the   BOP   Director    has

sanctioned Defendant's early release.                      In short, the Court must

also deny Defendant's motion for compassionate release on the

merits     because        he    does    not    meet    the    specific      examples    of

extraordinary and compelling reasons and the Director of the BOP

has- not determined that circumstances outside of these examples

exist to afford him relief.


        Upon the foregoing.            Defendant Antonio Smiley's motion for

early release (doc. no. 940) is hereby DENIED.                        ^      ^

        ORDER ENTERED at Augusta, Georgia, this (L(_J                      day of April,

2020.




                                                  UNITED STATES DISTRICT JUDGE
